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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Esteban Martinez Vazquez,                               File No. 19-cv-2006 (ECT/DTS)

              Plaintiff,

v.
                                                                     ORDER
TL Edina LLC d/b/a Taco Libre, St. Paul
Hospitality Systems LLC d/b/a Taco Libre,
Mpls Hospitality Systems LLC d/b/a Taco
Libre, TL Enterprise 1 LLC d/b/a Taco
Libre, Adrian Ramirez, and Diana Martinez
Herrera,

           Defendants.
________________________________________________________________________

       The Parties have filed a Joint Motion for Approval of Settlement Agreement. ECF

No. 46.1 “A district court may only approve a settlement agreement in a case brought under

§ 216(b) of the FLSA after it determines that the litigation involves a bona fide dispute and

that the proposed settlement is fair and equitable to all parties.” Williams v. BPV Market

Place Investors, L.L.C, No. 4:14-CV-1047 CAS, 2014 WL 5017934, at *1 (E.D. Mo. 2014)

(citing Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1353 (11th Cir. 1982));


1
        It is not entirely clear whether court approval is necessary here. See Ezell v. Acosta,
Inc., No. 4:16CV870 RLW, 2019 WL 8160704, at *1 (E.D. Mo. Apr. 4, 2019) (“The Court
first notes that the law is unsettled as to whether judicial approval of a proposed settlement
of FLSA claims is required in the absence of a certified class.”) (collecting cases); compare
Beauford v. ActionLink, LLC, 781 F.3d 396, 406 (8th Cir. 2015) (“After commencing
litigation, employees can waive their rights only if the parties agree on a settlement amount
and the district court enters a stipulated judgment.”), with Melgar v. OK Foods, 902 F.3d
775, 779 (8th Cir. 2018) (“recogniz[ing] an apparent circuit split as to whether private
settlements relating to FLSA claims require district court review,” but “not address[ing the]
issue”).
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see Johnson v. Thomson Reuters, No. 18-cv-0070 (PJS/HB), 2019 WL 1254565, at *2 (D.

Minn. Mar. 19, 2019) (reviewing an FLSA settlement to ensure there is a bona fide dispute

and the settlement is a fair and reasonable resolution of that dispute).

       “A ‘bona fide dispute’ exists when there are ‘issues, such as FLSA coverage or

computation of back wages, that are actually in dispute.’” Johnson, 2019 WL 1254565, at

*2 (quoting Lynn’s Food Stores, 679 F.2d at 1354). The litigation here involves a bona

fide dispute regarding the FLSA. Plaintiff brought this suit against his former employers

in part to recover allegedly unpaid overtime wages under the FLSA. See Am. Compl. ¶¶

74–75, 78, 120–29 [ECF No. 18]. The defendant employers denied that the Plaintiff

worked overtime and denied that any overtime wages were owed to Plaintiff. See Joint

Answer of Defendants TL Edina LLC, St. Paul Hospitality Systems LLC, Mpls Hospitality

Systems LLC, TL Enterprise 1 LLC, and Adrian Ramirez ¶¶ 74–75, 78, 120–29 [ECF No.

21].

       “To determine whether the parties’ dispute was settled in a ‘fair and reasonable’

manner, the Court should consider the ‘totality of the circumstances.’” Johnson, 2019 WL

1254565, at *4 (quoting Carrillo v. Dandan Inc., 51 F. Supp. 3d 124, 132–33 (D.D.C.

2014)). Relevant factors to consider when assessing the totality of the circumstances

include the complexity, expense, and likely duration of the case; the stage of the

proceedings; the experience of counsel; the conduct of the parties during settlement; and

whether the settlement was the product of arm’s-length negotiations between represented

parties. Id. Here, all Parties were represented by counsel throughout the proceedings, and

the settlement agreement is the product of arm’s-length negotiations after extensive written
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discovery.   There is no evidence that any Party overreached during the settlement

negotiations, and the Parties agree that the settlement is fair, reasonable, adequate, and in

their best interests. Although the FLSA claims alone do not appear to be overly complex,

the amended complaint alleges additional claims under the Trafficking Victims Protections

Reauthorization Act, the Minnesota Labor Trafficking Crimes statute, the Minnesota Fair

Labor Standards Act, and the Minnesota Payment of Wages Act that add significantly to

the overall complexity of this case and would likely add to the expense and duration of the

litigation were it to continue.     Considering these factors among the totality of the

circumstances here, the settlement agreement entered into by the Parties is fair and

reasonable and settles a bona fide dispute under the FLSA.2 Accordingly, the Parties’ Joint

Motion for Approval of Settlement Agreement [ECF No. 46] is GRANTED and the

Settlement Agreement is APPROVED.

       SO ORDERED.


Date: May 4, 2020                                  s/ Eric C. Tostrud
                                                   Eric C. Tostrud
                                                   United States District Court



2
        As with the question whether court approval of FLSA settlement agreements is
required, it is not entirely clear that a district court must review attorneys’ fees included in
an FLSA settlement agreement. See Melgar, 902 F.3d at 779 (“assum[ing] without
deciding that the district court has a duty to exercise some level of review of the Agreement
and the attorneys’ fee award”). Where, as here, the Parties have included attorneys’ fees
in a settlement agreement, the Eighth Circuit has directed district courts to afford “a certain
level of deference” to the Parties’ determination of reasonable attorneys’ fees. Id. With
this in mind, the agreed-upon attorneys’ fees are fair and reasonable, especially as
Plaintiff’s counsel conducted significant written discovery and successfully defended
against a motion to dismiss. See ECF No. 30.
